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                                              M               6
                           : Tax returns
                          imi Vigi
                        11/27/20089:20:50 AM




      Curtis,


    am ok with    filing as taxable, then later oiding the taxes paid to get them
         How did I end up with an 03 tax liability that is less than what they
          Is it because of deductions?

    would love to get 220K back for 05! Let's go with that for now and see
        happens.




                                                                                        「
        : Curtis [mailto:effnbks@myedl.com]
         Thursday, November 27,2008 9:10 AM
    o: Mimi Vigil
       iect: Tax retums



                                                                                      ̀1協
          Turkey day.



    am working through these retums and I had a quick question.

     t the meeting we had went over one ofthe retums that had recently been
                on Redemptionbymethod yahoo group where the guy was testing his
      brmation. He did file it electronically so that is possibly a big factor
        it seems. However he was OID'ing the federal, state and SS,Med withheld
           the w:2 items. In this recording he filed it as taxable and got his
              back in 18 days. In addition, I spoke with someone recently that
          in California with the help of that enrolled agent, Teresa, and she
        file his stuff as taxable and he got his refund in 3 weeks. In
                 your returns, I know they have listed lots ofpenalties and
               on your 4506:T reports but I think it might be a faster way to get
            processed and money back if we file it as taxable. It is kind of
             on the tax paid side but I think we can also then OID the IRS for the
       es paid in whatever year they actually get the items processed. If in
        future we do have success filing as nontaxable and getting the refund
            we can then adjust it at a later filing that the money that was
                or paid in that year would be nontaxable and get back all the taxes



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                                                                                    Page 2   of3


              were paid anyway.




      the filings that I have prepared, I have an 03 tax liability that is less
        what they show on your sunmary sheets and the same for 04. the 1099,{
     only a loss, until a 1099Cis filed it appears that you don't record the
       or gain on the property (according to pub 544). From this then it
          like they did not charge you taxes on that foreclosure. If this is
       then I have put together an 05 retum with the OID from the Mistar
       ncial, which has already been sent in. In filling out the 05 retum
        this as taxable it gives a refund of $251,481.00 If this then gets
               and they deduct even the whole amount that they had estimated at
        then you would get a refund ofabout 220K for 05.




        we can work on any other information from 06 and 07 and we would be
      eto OID the taxes paid and withheld from the refund based on their
            that you would receive. The tax being assessed on the 374K loan
     l22K so we could OID that whenever they finalize the retum, or we base
      OID on the year in which they receive the retum information. I think
         way is appropriate.



      ts of information to peruse and think about so let me know what you think.




            it has taken me so long, I keep trying to get the most for your money
          get sidetracked on other possibilities.




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                -Path: <mimiv07@comcast.net>
          -Original-To : effnbks@myedl.com
           livered-To : effnbks@myedl.com
              ived: from k07 l.smtproutes.com (k07 l.smtproutes.com [208.70.89. 1 7 1 ])
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          -Katharion-ID: 1227802850.4460.k071 (2.4)
               ved: from QMTAO3.emeryville.ca.mail.comcast.net ([76.96.30.32])
         by k07 l.smtproutes.com ([ 92. 1 68.2.17 ll)
         with ESMTP via TCP; 27 Nov 2008 16:20:46 -0000
         eceived: from OMTA08.emeryville.ca.mail.comcast.net ([7 6.96.30.12))
        by QMTAO3.emeryville.ca.mail.comcast.net with comcast
        id kG071a0080FhH24A3GLmAn; Thu,27 Nov 2008 16:20:46 +0000
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        by OMTA0S.emeryville.ca.mail.comcast.net with comcast
        id kGLl1a00945KHCj8UGLlso; Thu, 27 Nov 2008 16:20:46 +0000
          -Authority-Analysis: v:1.0 c:l a:nUtTZ29dAAAA:S a:HxNElwKyUvfwNrV3sgYA:9
        a=XpJ86 lmuZyuuavLpRXYA:7 a=KzusQVSrOaOBIT 7 Z92wcal9jikE A:4
          VIMIwCkPPU8A:10
        a=50e4U0PicR4A: 1 0 a:SSmOFEACAAAA:8 a=Xz8RjLcVAAAA:8
                 cpUIIE4TMwILYA:9
        a:ftczmBCapqfunA6lGwA:7 a:x0NJLaVG3Rnp6Nni2vorpckaGQ0A:4 a=37WNUvjkh6kA:10
         rom: "Mimi Vigil" <mimivO7@comcast.net>
         o: "'Curtis"' <effnbks@myedl.com>
            iect: RE: Tax retums
             : Thu, 27 Nov 2008 09:21:02 -0700
                Version: 1 .0
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        bound町 ="… ―     ‐=二NextPart 000 0012 01C95071 781A3600"
         -Mailer: Microsoft Office Outlook, Build 1 1 .0.55 10
                 Index : AclQqpYetfnoqcDnTAiplh9CV4C gyAAAKDsg
         -MimeOLE: Produced By Microsoft MimeoLE V6.00.2900.3350
             eply-To: <l 8EEE36F585 I 1 D45844F8BE08B4DC691AC0A75@partpoint
              .PARTpoint.local>
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